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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                    AIKEN DIVISION

                                C/A NO.: ____________________

Jamie Grubbs,                             )
                                          )
                               Plaintiff, )
                                          )                   COMPLAINT
vs.                                       )               (Jury Trial Demanded)
                                          )
Wal-Mart Stores, Inc., Wal-Mart Stores    )
East, LP, and Wal-Mart Stores East, Inc. )
                                          )
                            Defendants. )
___________________________________)

       NOW INTO COURT, by and through undersigned counsel, comes Plaintiff, Jamie

Grubbs, who, in support of his claims against Defendant Wal-Mart Stores, Inc., Wal-Mart Stores

East LP, and Wal-Mart Stores East, Inc. (collectively “Wal-Mart Defendants” or “Defendants”)

alleges as follows:

                                        INTRODUCTION

       1.       On or about February 15, 2015, a portable plastic gas can manufactured by Blitz

U.S.A., Inc. and sold by Defendants exploded causing Plaintiff to suffer severe burns, and

causing him to incur substantial medical expenses and other recoverable damages.

       2.       This breach of warranty action is brought against the Defendants pursuant to the

laws of the State of South Carolina to recoup all damages to which the Plaintiff is entitled

because of the injuries suffered. This action is timely under the six year statute of limitations for

breach of warranty actions under S.C. Code Ann. §36-2-725.

                                             PARTIES

       3.       Plaintiff Jamie Grubbs is a citizen and resident of the State of South Carolina.


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       4.      Defendant Wal-Mart Stores, Inc. is a Delaware corporation engaged in business in

South Carolina with its principal place of business in Bentonville, Arkansas. Defendant

Wal-Mart Stores East, LP is a Delaware limited partnership engaged in business in South

Carolina with its principal place of business in Bentonville, Arkansas.1 Defendant Wal-Mart

Stores East, Inc. is an Arkansas corporation engaged in business in South Carolina with its

principal place of business in Bentonville, Arkansas. All three defendants (hereinafter

collectively “Wal-Mart”) may be served process through their registered agent C T Corporation

System, 2 Office Park Court, Columbia, South Carolina 29223, Suite 103.

       5.      Defendants have each purposefully availed themselves of the privilege of

conducting business activities within the State of South Carolina by placing products,

including the portable gasoline container at issue in this matter, into the stream of commerce

and by advertising their products and/or establishing retail facilities within the state.

       6.      Defendants derive substantial revenue from goods sold and used in the State of

South Carolina.

       7.      Defendants do reasonably expect, or should reasonably expect, that their business

activities could or would have consequences within the State of South Carolina.

       8.      Defendants have established continuous and systematic contacts with the State of

South Carolina sufficient to confer general jurisdiction.

       9.      Venue is proper under 28 U.S.C. § 1391 because a substantial part of the events

giving rise to the claim at issue occurred in whole or in part within this district and division. The



       1
        Wal-Mart Stores East, LP, upon information and belief, is comprised of two partners;
WSE Investments, LLC a Delaware limited liability company with a principal place of business
outside South Carolina and WSE Management, a Delaware limited liability company with a
principal place of business outside of South Carolina.


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explosion of the subject gasoline container and the sale of the subject gas can occurred within

this division.

        10.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 as the

amount in controversy exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive

of interest and costs, and there is diversity of citizenship between Plaintiff and Defendants.

                                    FACTUAL BACKGROUND

        11.      At a time prior to February 15, 2015, Defendants placed a portable plastic gas can

for sale in the stream of commerce (“Subject Gas Can”) and sold the subject gas can to Plaintiff

through their retail location in Barnwell, South Carolina.

        12.      On or about February 15, 2015, Plaintiff attempted to use fuel as an accelerant to

for a fire he was starting in his backyard when something in his burn barrel ignited the fumes

from the gasoline causing a flashback explosion of the Subject Gas Can and throwing burning

gasoline onto the Plaintiff.

        13.      Witnesses heard a loud explosion.

        14.      Plaintiff was on fire.

        15.      A flash back explosion of a gas can occurs when gasoline vapors outside the gas

can ignite and the flame flashes back into the vapor trail inside the container, causing an internal

combustion of the gasoline, a rupture of the can and the spraying of ignited gasoline on the

victim.

        16.      The burn injuries suffered by Plaintiff are consistent with a flashback and

explosion of the subject gas can.




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       17.     The Wal-Mart Defendants sold The Subject Gas Can and in connection with that

sale warranted that the Subject Gas Can was fit for ordinary purposes and not unreasonably

dangerous.

       18.     The Subject Gas Can was not modified or altered after it left Defendants’ control,

and Plaintiff was utilizing the Subject Gas Can in an ordinary, foreseeable and reasonable

manner in which the Subject Gas Can was reasonably expected to be used.

       19.     Prior to the manufacture, distribution and sale of the Subject Gas Can, Defendants

were aware that gas can owners use the cans to pour gasoline in an attempt to start fires. Thus,

Plaintiff’s use of the Subject Gas Can was reasonably foreseeable and ordinary.

       20.     The Subject Gas Can was defective and unsafe for its ordinary purposes at the

time it left the control of Defendants in that the design failed to include a flame arrestor device,

which is a necessary safety device that would have prevented the Plaintiff’s injuries and

damages.

       21.     Prior to the manufacturer, distribution and sale of the Subject Gas Can,

Defendants were aware that other manufacturers, including Eagle Manufacturing and Chilton,

had chosen to incorporate flame arrestors into plastic gas cans. Thus, the incorporation of flame

arrestors into plastic gas cans was technologically feasible.

       22.     Defendants knew or should have known of the Subject Gas Can’s susceptibility to

flashback which occurs when gasoline vapors ignite and the flames chase the vapor trail back

into the can, causing an explosion and the spewing of flames and burning gasoline.

       23.     As a direct and proximate result of Defendants’ acts and/or omissions in the

design, manufacture, assembly, marketing, distribution and sale of the Subject Gas Can, which

lacked a flame arrestor/flashback arrestor, Plaintiff suffered severe personal injuries, including,




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but not limited to, severe burns, physical pain and impairment, physical disfigurement, and other

recoverable damage.

        24.       The Subject Gas Can marketed, distributed, and sold by Defendants was defective

and/or unreasonably dangerous when sold.

        25.       The Subject Gas Can designed, marketed, distributed, and sold by Defendants was

the cause of Plaintiff’s injuries.

        26.       All Defendants are engaged in the business of selling portable gas cans, including

the Subject Gas Can, to consumers within the stream of commerce.

        27.       Defendants expected the Subject Gas Can, so introduced and passed on in the

course of trade, to ultimately reach the residential consumer and/or users without substantial

change in the condition in which it was originally sold.

        28.       The Subject Gas Can was without substantial change in the condition from which

it was originally sold by Defendants and unexpectedly failed under ordinary and foreseeable use.

        29.       At the time the portable gas can left Defendants’ control, and at all times

complained of, safer alternative designs were available that would have eliminated the risk of the

Subject Gas Can exploding without substantially impairing the usefulness and intended purpose

of the product.

        30.       A flame arrestor, sometimes called a flame-arresting screen, flash arrestor, or

spark arrestor, is a small metal device that is placed in a container’s openings and allows liquids

to flow out of the container but prevents the flashback of flames back into the container. The

device consists of either a perforated metal screen or a wire mesh screen.

        31.       The efficacy of flame arrestors has been known to the gasoline manufacturing

industry for decades, and particularly the manufacturers of portable gas cans have been aware of




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their existence since before they were first placed in industrial gas cans in the 1920s and began

being placed in consumer gas cans by at least 1978.

      32.      For more than a quarter century, the utility and efficacy of flame arrestors has

been a topic of discussion in the media and national publications and the subject of numerous

lawsuits filed by consumers, users, and bystanders who have been burned and/or killed in

encounters with portable gas cans that were not equipped with the device.

      33.      Sometime prior to February 3, 2003, Defendants’ lawyers hired Pinnacle

Engineering, LLC to conduct testing on Rubbermaid spouts with plastic screens to see if those

screens would act as flame arrrestors.

      34.      Pinnacle, LLC issued a report to Defendants’ lawyers that provides:

      •     The plastic screen functions as efficiently as a metal screen in preventing flashback

            beyond the screen. These findings are supported by the research conducted by Hazen

            Research in Golden, Colorado. There, a Rubbermaid screen, of polymer construction,

            was tested, multiple times, to determine its efficiency at preventing flames from

            traveling beyond the screen. In each of these tests, the polymer screen inhibited the

            flame from travelling beyond the plastic screen. These findings are due to direct

            observations as displayed on the video tape (as recorded during the experiments).

      •     The polymer screen functioned equally as efficient in preventing the flame flash back

            whether pure gasoline or a gasoline/oil mixture was utilized with the test apparatus.

      •     The findings listed above were repeatable. Multiple tests were conducted in the

            December 5th experimental work, and in each instance, the polymer screen function

            as effectively as the metal screen.




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       •    Positioning the polymer screen half way into the tube or at the flame end of the glass

            tube made no difference in the results.

       •    When no screen (metal or plastic) was utilized, the flame front travelled the length of

            the tube and into the chamber of the apparatus.

      35.      Based on the above findings in paragraph 34 that were reported to Wal-Mart’s

agents, Wal-Mart knew or should have known that a simple plastic mesh screen would prevent

flames from travelling beyond the screen and would prevent flash back into a container.

      36.      Based on the above findings in paragraph 34 that were reported to Wal-Mart’s

agents, Wal-Mart knew that in the absence of such screens flames could flash back into gasoline

containers.

      37.      Consequently, Defendants have known, or should have known, for decades prior

to this incident that gas cans without flame arrestors were susceptible to flashback (i.e., when

gasoline vapors outside the container ignite, the flames can follow the vapor trails back inside

the container causing it to explode and spew flames and burning gasoline).

      38.      Without the inclusion of a flame arrestor, the foreseeable risk of injury and/or

death associated with the use of the Subject Gas Can far exceeded any utility and/or benefits

associated with its design.

      39.      Nevertheless, despite the wealth of available scientific knowledge, Defendants

made a conscious decision to endanger the safety of consumers, users, and bystanders by

refusing to sell gas cans which incorporate a well-known safety device, despite the fact that this

safety device is economically and technologically feasible.




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       40.      As a direct and proximate result of one or more of Defendants’ acts or omissions

as described herein and as a direct and proximate result of the Subject Gas Can’s defective

design, Plaintiff suffered severe burn injuries.

      COUNT 1: BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                         (S.C. Code Ann. §36-2-314)

       41.      Plaintiff incorporates all previous paragraphs.

       42.      Defendants, by and through the sale of their portable gas cans, impliedly

warranted to the consumer and/or foreseeable users, such as Plaintiff, that the Subject Gas Can

was merchantable and fit for its ordinary and foreseeable purposes.

       43.      Plaintiff made ordinary forseeable use of the Subject Gas Can in reliance on said

warranties.

       44.      Contrary to said warranties, the Subject Gas Can was defective and unfit for its

ordinary and foreseeable purposes, rendering it unreasonably dangerous.

       45.      Defendants breached the implied warranties by one or more of the following

respects, among others:

             a. Failure of the Subject Gas Can itself and by improper marketing;

             b. Failure to require that the Subject Gas Can be equipped with a flame arrestor

                and/or other safety devices to make it safe for its foreseeable environment and

                use;

             c. The Subject Gas Can, as sold, posed a risk of flammable vapor ignition, flashback

                and explosion to users beyond that understood or contemplated by the average

                reasonable consumer, and the risks associated with its design outweighed its

                utility;




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             d. Defendants knew or should have known of feasible alternative designs that would

                have significantly reduced and/or eliminated the risk of flammable vapor ignition

                and failed to employ said design alternatives to make the Subject Gas Can safe for

                its foreseeable environment and use;

             e. Defendants knew or should have known that consumers would use gas cans to

                store gasoline, creating an unreasonable and unexpected hazard of vapor ignition

                and resulting fire, without appropriate design features to prevent flashback;

             f. Failed to assure that the product design included a flame arrestor;

             g. Failed to protect foreseeable users of the Subject Gas Can from the dangers

                present in the use of such container, which dangers Defendants knew or should

                have known existed;

             h. Placed on the market a gas can which was not safe for the ordinary purpose for

                which it was sold.

       46.      As an actual proximate result of Defendants’ breach of said warranty, the Subject

Gas Can was placed into the stream of commerce in a defective and unreasonably dangerous

condition.

       47.      Plaintiff’s injuries and the manner in which they occurred were reasonably

foreseeable to Defendants, which had actual and/or constructive knowledge from within the

industry, national publications, media reports, and prior claims and lawsuits, that consumers,

users, children and bystanders were being routinely burned and/or killed when encountering

their portable gas cans.

       48.      As a direct and proximate result of said breaches of warranty, Plaintiff suffered

severe burn injuries and Plaintiff suffered damages.




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                                 CAUSATION AND DAMAGES

       49.     Plaintiff re-alleges and incorporates in this section each and every preceding

allegation as if fully pled herein.

       50.     Defendants caused Plaintiff significant injury as a result of the negligence and

other tortious conduct set forth herein. Plaintiff demands money damages consistent with South

Carolina law for the harm inflicted by Defendants, including, but not limited to the following:

                    i. Past and future cost of medical care;

                   ii. Past loss of wages, entitlements, support and other recoverable economic

                       losses;

                  iii. Past and future emotional distress;

                  iv. Past pain and suffering;

                   v. Past and future hedonic damages; and

                  vi. Such further damages as will be proven at the trial of the case.

       WHEREFORE, Plaintiff prays that the he be awarded all compensatory damages due

and owed, including attorney’s fees and costs associated with the prosecution of this action, as

allowed by South Carolina law, prejudgment interest and for such other and further relief as this

Honorable Court deems just and proper.




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    Respectfully submitted, this 8th day of August 2019.



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                                             & BRICKMAN, L.L.C.


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